

Matter of God McQ. (Shawnta G.) (2021 NY Slip Op 04191)





Matter of God McQ. (Shawnta G.)


2021 NY Slip Op 04191


Decided on July 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 01, 2021

Before: Renwick, J.P., Gische, Oing, Mendez, JJ. 


Docket No. NN-1272/19, NN-1273/19 Appeal No. 14150 Case No. 2020-03935 

[*1]In the Matter of God McQ., and Another, Children Under Eighteen Years of Age, etc., Shawnta G., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent. 


Andrew J. Baer, New York, for appellant.
James E. Johnson, Corporation Counsel, New York (Julie Steiner of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Polixene Petrakopoulos of counsel), attorney for the children.



Order, Family Court, New York County (Maria Arias, J.), entered June 29, 2020, which, after a hearing pursuant to Family Ct Act § 1028, denied respondent mother's application for the return of the subject children to her care pending the fact-finding hearing on the issue of neglect, unanimously affirmed, without costs.
There is a sound and substantial basis in the record for the Family Court's determination that the return of the subject children to the mother pending the outcome of this neglect proceeding would present an imminent risk to them, and that the risk could not be mitigated by reasonable efforts to avoid removal, in light of the mother's history of untreated mental illness and substance abuse, prior neglect findings against her, lack of insight into her mental illness, and history of noncompliance with a dispositional order directing her to treat her psychiatric illness (see Family Ct Act § 1028 [b]; Matter of Solai J. [Kadesha J.], 190 AD3d 973, 974 [2d Dept 2021]; Matter of Gavin G. [Carla G.], 165 AD3d 1258, 1258-1259 [2d Dept 2018]; Matter of Audrey L. [Marina L.], 147 AD3d 838, 840 [2d Dept 2017]). While the mother demonstrated she was making strides in addressing her issues, the court also considered the children's expressed preference for the kinship foster home, thereby resolving doubts in favor of protecting the children (see Matter of Leroy R., 84 AD3d 485  [1st Dept 2011]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 1, 2021








